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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

PRAXAIR, INC.,                        §
PRAXAIR TECHNOLOGY, INC.,             §
                                      §
     Plaintiffs,                      §                          Case No. 1:16-cv-00065
                                      §
v.                                    §                            JURY DEMANDED
                                      §
AIR LIQUIDE LARGE INDUSTRIES U.S. LP, §
                                      §
     Defendant.                       §

             AGREED MOTION FOR DISMISSAL WITHOUT PREJUDICE

       Plaintiffs Praxair, Inc. and Praxair Technology, Inc., pursuant to Fed. R. Civ. P. 41(a)(2),

hereby move for an order dismissing all claims in this action WITHOUT PREJUDICE, subject

to the terms of that certain agreement entitled “STANDSTILL AGREEMENT” and dated June

13, 2016, with each party to bear its own costs, expenses and attorneys fees.

        Dated: June 15, 2016                     Respectfully submitted,


                                                 By: /s/ J. Thad Heartfield
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                               CERTIFICATE OF SERVICE

       I certify that on June 15, 2016, all counsel of record who are deemed to have consented to

electronic service are being served with a copy of this document via the Court’s CM/ECF

system. Any other counsel of record will be served in accordance with the Federal Rules of Civil

Procedure.


                                                     /s/ J. Thad Heartfield
                                                     J. Thad Heartfield



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